IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
ABINGDON DIVISION

UNITED STATES OF AMERICA

 

Vv. : Case No. }: /uCe /
: Violations: 18 U.S.C. §§ 922, 924
JEREMY WAYNE BARTLEY 2° 21 U.S.C. §§ 841, 843, 846
‘DAWN ROSSALYN VINCENTE ¢

a/k/a Dawn Rossalyn Wheaton
a/k/a Dawn Marie Coleman $
*- SUMMER DEBORAH BOOHER : CLERK'S OFFICE U,8, DIST. COURT

STEVEN ROGER BRYANT : . ALES “A

DAKOTA WAYNE BARKER
CARRIE TAYLOR
BRANDIN TRAVIS HYDE
JEFFERY BRUCE BARTLEY

~ FRANKLIN DEE ROSE
STACEY LEE DOANE
MATTHEW CHARLES BLEVINS :
ROBERT EDWARD BOWMAN :
MELISSA MENDORA HARLESS °
CONNIE DIANE STROUTH :
DONNA JENKINS : -

a/k/a DONNA WHEATON

 

INDICTMENT
COUNT ONE

The Grand J ury charges that:

1. On or about and between January 1, 2014, and January 11, 2016, in the Western
District of Virginia and elsewhere, DAWN ROSSALYN VINCENTE, SUMMER DEBORAH
BOOHER, STEVEN ROGER BRYANT, DAKOTA WAYNE BARKER, JEREMY WAYNE
BARTLEY, CARRIE TAYLOR, BRANDIN TRAVIS HYDE, JEFFERY BRUCE BARTLEY,
FRANKLIN DEE ROSE, STACEY LEE DOANE, MATTHEW CHARLES BLEVINS,

ROBERT EDWARD BOWMAN, MELISSA MENDORA HARLESS, CONNIE DIANE

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STROUTH, DONNA JENKINS, and others known and unknown to the grand jury, conspired to
manufacture, distribute, and possess with the intent to distribute a mixture or substance
containing a detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, a
Schedule II controlled substance, in violation of Title 21, United States Code, Section 841, and <
to knowingly and intentionally use a communications facility in committing, causing and
facilitating a felony drug trafficking offense, in violation of Title 21, United States Code, Section
843(b).

2. As to DAWN ROSSALYN VINCENTE and JEREMY WAYNE BARTLEY, one of
the objects of the conspiracy was to distribute and possess with the intent to distribute 500 grams
or more of a mixture or substance containing a detectable amount of methamphetamine, its salts,
isomers, or salts of its isomers.

3. All in violation of Title 21, United States Code, Sections 843, 846, 841(b)(1)(A), and

BAIOIVC).
COUNT TWO

The Grand Jury charges that:

1. On or about April 14, 2015, in the Western District of Virginia and elsewhere,
SUMMER DEBORAH BOOHER knowingly and intentionally possessed with the intent to
distribute a mixture or substance containing methamphetamine, its salts, isomers, or salts of its
isomers, a Schedule II controlled substance.

2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

COUNT THREE

The Grand Jury charges that:

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1. On or about June 23, 2015, in the Western District of Virginia and elsewhere,
JEREMY WAYNE BARTLEY and BRANDIN TRAVIS HYDE, as principals and aiders and
abettors, knowingly possessed a firearm, namely, a Tec-9 semi-automatic pistol, in or affecting’
interstate or foreign commerce, after having been convicted of a crime punishable by
imprisonment for a term exceeding one year and while being an unlawful user of a controlled
substance.

2. All in violation of Title 18, United States Code, Sections 2, 922(g)(1) and 922(g)(3).

COUNT FOUR |

The Grand Jury charges that:

1. On or about July 16, 2015, in the Western District of Virginia and elsewhere,
JEREMY WAYNE BARTLEY and BRANDIN TRAVIS HYDE, as principals and aiders and
abettors, knowingly and intentionally possessed with the intent to distribute a mixture or
substance containing methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II
controlled substance.

2. All in violation Title 18, United States Code, Section 2, and Title 21, United States
Code, Sections 841(a)(1) and 841(b)(1)(C).

COUNT FIVE

The Grand Jury charges that:

1. On or about July 16, 2015, in the Western District of Virginia and elsewhere,
JEREMY WAYNE BARTLEY and BRANDIN TRAVIS HYDE, as principals and aiders and
abettors, knowingly used and carried during and in relation to, and possessed in furtherance of, a
drug trafficking crime for which they may be prosecuted in a court of the United States

(distribute a substance containing methamphetamine, as set forth in Count Four), a firearm.

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2. Allin violation of Title 18, United States Code, Section 924(c)..
COUNT SIX |

The Grand Jury charges that:

1. On or about July 27, 2015, in the Western District of Virginia and elsewhere, DAWN
ROSSALYN VINCENTE knowingly and intentionally distributed a mixture or substance
containing methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled
substance.

2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(6)(1)(C).

COUNT SEVEN

The Grand Jury charges that: °

1. On or about December 16, 2015, in the Western District of Virginia and elsewhere,
DAWN ROSSALYN VINCENTE and DONNA JENKINS, as principals and aiders and abettors,
knowingly and intentionally possessed with the intent to distribute a mixture or substance
containing methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled
substance.

2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

COUNT EIGHT

The Grand Jury charges that:

1. On or about December 21, 2015, in the Western District of Virginia and elsewhere,
DAWN ROSSALYN VINCENTE and DONNA JENKINS, as principals and aiders and abettors,
knowingly and intentionally possessed with the intent to distribute a mixture or substance
containing methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled

substance.

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2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

COUNT NINE

The Grand Jury charges that:

1. On or about August 12, 2015, in the Western District of Virginia and elsewhere,
FRANKLIN DEE ROSE knowingly and intentionally distributed a mixture or substance
containing methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled
substance.

2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

COUNT TEN

The Grand Jury charges that:

1. On or about April 9, 2015, in the Western District of Virginia and elsewhere,
STACEY LEE DOANE knowingly and intentionally distributed a mixture or substance
containing methamphetamine, its salts, isomers, or salts of its an a Schedule II controlled
substance.

2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

| COUNT ELEVEN

The Grand Jury charges that:

1. On or about April 14, 2015, in the Western District of Virginia and elsewhere,
STACEY LEE DOANE and MATTHEW CHARLES BLEVINS, as principals and aiders and
abettors, knowingly and intentionally distributed a mixture or substance containing

methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled substance.

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2. All in violation Title 18, United States Code, Section 2, and Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(C).

COUNT TWELVE

The Grand Jury charges that:

1. On or about August 11, 2015, in the Western District of Virginia and elsewhere,
MELISSA MEDOR HARLESS knowingly and intentionally distributed a mixture or substance
containing methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled
substance.

2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

COUNT THIRTEEN

The Grand Jury charges that:

1. On or about April 21, 2015, in the Western District of Virginia and elsewhere,
STACEY LEE DOANE knowingly and intentionally distributed a mixture or substance
containing methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled
substance.

. 2. All in violation Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

NOTICE OF FORFEITURE
1. Upon conviction of one or more of the felony offenses alleged in this Indictment,
the defendants shall forfeit to the United States:
a. any property constituting, or derived from, any proceeds obtained, directly

or indirectly, as a result of said offenses, pursuant to 21 U.S.C. §
853(a)(1).

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b. any property used, or intended to be used, in any manner or part, to
commit, or to facilitate the commission of said offenses, pursuant to 21
USS.C. § 853(a)(2).

c. any firearm used or intended to be used to facilitate the transportation,
sale, receipt, possession, or concealment of controlled substances and/or
raw materials, as described in 21 U.S.C. § 881(a)(1) and (2), and any
proceeds traceable to such property, pursuant to 21 U.S.C. § 881(a)(11)
and 28 U.S.C. § 2461(c).

d. any firearms and ammunition involved or used in the commission of said
offenses, or possessed in violation thereof, pursuant to 18 U.S.C. § 924(d)
and 28 U.S.C. § 2461(c).

2. The property to be forfeited to the United States includes but is not limited to the:
following property:
a. United States Currency
$8,538.00

b. Firearms

Ruger P-95 9mm pistol

c. Money Judgment:

An amount not less than $100,000.00
3. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant: ‘

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with a third person;
has been placed beyond the jurisdiction of the Court;
has been substantially diminished in value; or

has been commingled with other property which cannot be
subdivided without difficulty;

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it is the intent of the United States to seek forfeiture of any other property of the defendant up to
the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p), including

but not limited to above property.

A TRUE BILL, this | | “ day of January, 2016.

th E LrobwiloG:

P, FISHWICK, JR. ;
Porites States Attorney -

s/ Grand Jury Foreperson

  
 

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